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 4
     Counsel for Debtors
 5
 6                              UNITED STATES BANKRUPTCY COURT

 7                                CENTRAL DISTRICT OF CALIFORNIA

 8                                       LOS ANGELES DIVISION

 9
                                                          Bankruptcy No. 2:18-bk-21696-VZ
10 In re:
                                                          Chapter 7
11
     AGAPITO PALAD BAROMA and                             DEBTORS’ DECLARATION RE: FACTS IN
12 NONA BAROMA,                                           SUPPORT OF THEIR POSITION WITH
                                                          RESPECT TO THIS PENDING CASE
13                                           Debtors.
                                                          Petition Date: October 4, 2019
14                                                        Continued 341(a): January 17, 2019
15
16
            TO THE HONORABLE VINCENT ZURZOLO, OFFICE OF THE UNITED STATES
17
     TRUSTEE, THE CHAPTER 7 TRUSTEE AND HIS ATTORNEYS OF RECORD:
18
            Mr. Agapito Palad Baroma (“Agapito”) and his wife Mrs. Nona Baroma (“Nona”, with
19
     Agapito known together as the “Baromas”) file this declaration to explain the unfortunate events
20
     that led to the unauthorized, forged and fraudulent bankruptcy filing that commenced this entire
21
     proceeding. The Baromas will also seek the assistance of the Office of the United States Trustee
22
     (“UST”) to file a civil and criminal action against their loan modification agent, Mr. Sergio Lara
23
     (“Sergio”) from The Mortgage Guys located in Pasadena, California.
24
25          Without waiving any rights, the Baromas do not consent to this bankruptcy filing nor to this

26 Court’s jurisdiction. The filing of this declaration and another other documents (i.e. motion to
27 extend deadline to file schedules, motion to dismiss, etc.) should not be construed to imply that
28 the Baromas impliedly consent or voluntarily ratify this bankruptcy filing.



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 1                    JOINT DECLARATION OF AGAPITO AND NONA BAROMA
 2 We, Agapito Palad Baroma and Nona Baroma, do hereby attest as follows:
 3         1.      We are the debtors in this pending bankruptcy case. We are over the age of 18
 4 and have personal knowledge of the facts set above. We reside in our home located at 950
 5 Verdugo Circle Drive, Glendale, CA 91206.            If called as a witness, we could and would
 6 competently testify thereto.
 7         2.      To begin, we wish to clarify that we will cooperate with the Chapter 7 Trustee, his
 8 attorneys and the Office of the United States Trustee to rectify this fraudulent bankruptcy case.

 9 With that said, we will file all required documents as requested by the Court but our cooperation
10 and filings should not be construed that we ratify, accept and consent to this bankruptcy filing.
11 We strongly object to being in bankruptcy for the simple fact that we did not sign our bankruptcy
12 petition, we did not authorize anybody including Sergio or his agents to file this bankruptcy
13 petition nor gave any indication thereto.
14         3.      We would like to now provide facts to provide context and history as to the events.
15
16 PREPETITION FACTS – LOAN MODIFICATION
17         4.      On or about 2013 and 2014, we began to experience some financial hardship with
18 respect to our loans, which led us to seek assistance to modify the first loan on our house.
19         5.      On or about 2014, we met Sergio Lara (“Sergio”) through a referral from a friend
20 and we were told he does loan modifications. Currently, Sergio is employed at a company called
21 The Mortgage Guys, Inc. located at 16 Marengo Avenue # 716, Pasadena, CA 91101.                See
22 Exhibit A for a true and correct copy of the profile of Sergio on the website and is the person we
23 have dealt with. The person in the picture on the website is Sergio and the person we have been
24 dealing with all along.
25         6.      At this time, we cannot remember if we have a contract for the loan modification
26 but we did sign a power of attorney with the lender, Specialized Loan Servicing, in order to
27 authorize Sergio to work on our loan modification application.
28



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 1          7.     In 2016, Sergio was able to modify our first loan on our house. To the best of our

 2 recollection, we paid Sergio or his company $1,200 up front for the loan modification. We found
 3 out just recently that it is illegal under California state law to pay up front for a loan modification.
 4 After the first loan modification was successful, a law firm that Sergio utilizes thereafter refunded
 5 the money. We used that refunded $1,200 (approximate) to pay Sergio to thereafter help modify
 6 our second loan.
 7          8.     The loan modification on our second loan was taking a long time, so I (Nona)

 8 called Sergio to ask for the status of the loan modification.

 9          9.     Sergio told me (Nona) not to worry because 2nd lienholders do not foreclose. We

10 believed him.
11          10.    In May of 2017, Sergio also told me (Nona) that he “dropped the ball” because he

12 was sick or unavailable for some reason. However, Sergio assured us that he will be more
13 attentive and get the loan modification complete.           Again, Sergio assured us that the 2nd

14 lienholder would not foreclose so we should not be worried. That is all we cared about, our home
15 not being foreclosed upon.
16          11.    We trusted Sergio and his company very much because they seemed

17 professional, knowledgeable and they helped us with our first loan so there was no reason not to
18 trust him.
19          12.    In February of 2018, we received in the mail a Notice of Default and Notice of

20 Intent to Foreclose from our second lienholder.           We were surprised and got scared that

21 something was wrong and our home was going to be foreclosed.
22          13.    I (Nona) called Sergio to ask him about the Notice of Default that we received.

23 Again Sergio assured me not to worry and that he is working on the loan modification. Sergio
24 said to us that since the loan modification was in process that there would be no foreclosure.
25 Again, we trusted him and prayed that everything went smoothly.
26          14.    A few months later, we received a Notice of Sale on or about September 9, 2018.

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 1         15.     This Notice of Sale really scared us because there was a sale date listed for

 2 October 5, 2018. This really caused us to worry so I (Nona) immediately called Sergio again to
 3 ask what is going on and to get an update.
 4         16.     Sergio told us to simply “take down the Notice of Sale” from the door, don’t worry

 5 about it. We began to experience some uneasiness because of this Notice of Sale.
 6         17.     Sergio told us not to worry and that there would be a “soft hold” placed to stop

 7 the sale. We thought this was vocabulary used by professionals related to the loan modification.
 8 Again, we trusted him and believed this was typical in a loan modification process. We had no

 9 idea what a “soft hold” was but it was our belief that it had something to do with the loan
10 modification process.
11         18.     On September 27, 2018, in the text message communication between Sergio and I

12 (Nona), I asked Sergio how much do we owe him for the “hold service” and he texted back
13 “County filing fee: $325” and “Attorney representing the hold: $260.” For a total of $585. Notice
14 this text message does not reference the word “bankruptcy” at all. See Exhibit B for a copy of
15 the text message exchange.
16         19.     Please notice also that this text message varies materially from the “invoice”

17 Sergio sent us later. In this text communication, Sergio does not reference any bankruptcy but
18 simply “Attorney Representing The Hold.” This is where we learned of this “soft hold” language.
19         20.     On or about the same time, I (Nona) texted Sergio telling him to let us know when

20 the “soft hold” had been filed. Again – we had no idea what a “soft hold” was but we believed it
21 had something to do with the loan modification and that Sergio had to file something with the
22 County to give notice to the lender to temporarily stop the sale. At no time, whatsoever, did we
23 ever think this was a bankruptcy. Sergio did not tell us either. In fact, we were current with
24 our debts to our credit cards, which is further indicia that we did not need bankruptcy protection.
25 Nobody was suing us either to cause us to file bankruptcy.
26
27
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 1          21.      Sergio replied that “everything has been filed.” On September 27th, I (Nona),

 2 asked him if there was a way to check if the foreclosure sale date was put on a “soft hold.”
 3 Sergio replied that “it (the sale) was on hold”. I asked him how much we owed him and he texted
 4 us an itemized filing fee as follows:
 5                “County Filing Fee: $325”

 6                      (note: this text does not say bankruptcy filing fee, so we thought the “County

 7                      Fee” was perhaps the L.A. County Recorder’s Office).

 8                “Attorney Representing Hold: $260”

 9                      (in retrospect our current bankruptcy attorney believes this was the process

10                      servers fee who went to the bankruptcy courthouse to file).

11                Credit Reporting Fee: $100

12                      (our current bankruptcy attorney told us that this was for the credit counseling

13                      courses that someone in Sergio’s office completed for us on DebtorCC.org. It

14                      is very mischievous for Sergio to have charged us $100 for “two courses” when

15                      the first course costs $14.95 and the second course $9.95). Sergio is just

16                      making extra money off of us.

17
18 PETITION DATE
19          22.      On October 4, 2018 (the petition date), we called Sergio to ask what is going on

20 with the scheduled sale date. Sergio told us, “they filed the documents at the courthouse and
21 emailed them to the bank.” Again, we had no idea that they were going to file bankruptcy. We
22 innocently believed this was all part of the process to stop a “Notice of Sale” and get a loan
23 modification to stop the foreclosure.
24
25 CREDIT COUNSELING COURSE
26          23.      On October 4, 2018, somebody completed the prepetition credit counseling course

27 for us at 1:54 p.m. (about 30 minutes before the filing).        See Exhibit C for a true and correct

28 copy of the credit counseling certificate filed on the docket.



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 1          24.     We did not complete this credit counseling course and do not know who took the

 2 course for us.     Based on the timeline, it appears that someone urgently completed the credit

 3 counseling course and thereafter quickly filed the bankruptcy petition at the Clerk’s office.
 4          25.     Our attorney, Sevan Gorginian, showed us the credit counseling course website at

 5 www.DebtorCC.org where the credit counseling course was taken. We have never seen this
 6 website nor participated in any credit counseling course except for a course we took back in 2010
 7 when we filed bankruptcy back at that time.
 8          26.     Perhaps the Trustee or the U.S. Trustee can try to contact DebtorCC.org to do an

 9 I.P. trace to figure out from which computer was this credit counseling course completed.       We

10 have a feeling it was through Sergio’s office and they fraudulently filled out the paperwork and
11 took the course for us.
12          27.     On October 1, 2018, I (Nona) told Sergio I needed to know how to pay him for the

13 “soft hold” that they filed. On October 3, 2018, Sergio texted me a paper showing an invoice
14 billable to him. I will find the invoice he texted me and will update the UST and Trustee.
15          28.     This “invoice” paper that Sergio texted me is dated September 2018, but we never

16 received this invoice in the mail except through a text.        We think Sergio also falsified this

17 September 2018 date on the invoice to help him cover his tracks.        When I (Nona) received the

18 text message of the invoice, I made the unfortunate mistake of not reading it carefully because I
19 assumed the written invoice (in paper format) that Sergio texted me was the same information
20 that Sergio texted me in a blank text. All I wanted was some kind of invoice to show that we paid
21 the $695 for this “soft hold” regarding our loan modification.         Although it says the words

22 “bankruptcy” on the invoice, I inadvertently did not see that at the time, but only saw it when my
23 attorney pointed it out to me recently. Again, it was not unreasonable for me to believe that this
24 written receipt would be any different than the text receipt Sergio sent us. For example, if
25 someone were to text me “Nona, you owe $10 for haircut.” I would agree and pay. Thereafter, if
26 I ask the same person to please give me a written paper receipt for the haircut, the person would
27 write “Haircut $10” instead of “Haircut $9, Bankruptcy Filing $1.” That would be wrong because it
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 1 implies that Sergio intended to sneak in some facts that would help him shift the blame to us but
 2 we honestly did not know.
 3         29.     Sergio texted me prior to this “receipt” an itemized text message outlining the fees.

 4 In that prior text message, he did not reference any “bankruptcy” in there. Sergio only put there
 5 was a “hold.”
 6         30.     Later – when I asked him for a paper receipt, Sergio drafted that invoice and put

 7 the words “bankruptcy” in there presumably to cover his tracks. This “invoice” was sent to me by
 8 text on my phone and the font size was small. I did not click to enlarge it but simply trusted that it

 9 was an invoice for $695 for services related to the loan modification process as he said in his text
10 message.      As long as I received some kind of invoice for the $695, I was satisfied but I was

11 foolish in not reading it more carefully. I quickly put the phone away and did not look at the
12 invoice-text again.
13
14 POSTPETITION EVENTS
15         31.     On October 4, 2018, I (Nona) visited Sergio’s bank, Chase, to directly transfer

16 Sergio’s requested $695 to his bank account. I thought it was for the loan modification. See
17 Exhibit D for a true and correct copy of the Chase Bank Receipt re: the transfer Nona made.
18         32.     We did not know about the bankruptcy until October 6, 2018 (two days after) when

19 I (Agapito) received a text message notification from Equifax stating that there was some activity
20 on my Equifax credit report. See Exhibit E for true and correct copy of the text. I clicked on the
21 link and went to my Equifax page where I saw a bankruptcy notification. I was angry and
22 confused.
23         33.     I (Agapito) was surprised and upset to see this text. I asked my wife Nona if she

24 knew what it was and whether she knew Sergio or somebody filed bankruptcy in their name. My
25 wife did not know either.
26         34.     I, Nona, immediately texted Sergio to ask him about this bankruptcy notification.

27
28



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 1         35.     On October 8, 2018, there was a telephonic conference between Sergio and us

 2 both. On this call, we were panicking and frantic. Sergio continually told us to calm down and not
 3 to worry. Sergio said that “this (the bankruptcy) will all go away.”
 4         36.     In retrospect, our attorney believes that Sergio’s plan was to file an emergency

 5 bankruptcy and then instruct us not to file any of the remaining bankruptcy schedules and not to
 6 attend the 341(a) meeting with the trustee. In most cases, this works presumably because the
 7 court will automatically dismiss the case. However, as our attorney explained, this will not be the
 8 case if there are assets to administer.

 9         37.     On October 8, 2018, I (Nona) called our bank and the representative told us that

10 our accounts were frozen. We were surprised and did not know why the bank had frozen our
11 accounts. The representative told us to call the “bankruptcy department.” This was the first time
12 that both of us realized what Sergio meant with the “soft hold” – it meant to us that he filed a
13 bankruptcy under our name. We felt cheated and defrauded.
14         38.     At no time, did we ever authorize or give anybody any permission to file a

15 bankruptcy for us. The signatures on the bankruptcy petition are absolutely and
16 unequivocally forged. That is not our signatures despite how similar it may look. Even if the
17 signatures look 100% exactly the same – if we did not sign it, then we did not sign it. It was
18 forged. We explained the forgery at our meeting with the trustee and we felt ridiculed and
19 chastised for our position. We can get a handwriting expert to prove that the signatures is not
20 ours. If you look carefully, the “T” in my, Agapito’s, name does not have the line crossed. I am
21 left handed and whenever I sign my name, I cross the “T” by dragging a line from right to left
22 being that I am left handed. Whoever signed this was right handed and more importantly did not
23 cross the “T” in my name.
24         39.     It is important for the honorable Court, the Chapter 7 Trustee and the U.S. Trustee

25 to believe us that at no time did we intentionally want to disregard the Trustee’s requests. We did
26 not intentionally choose to disregard the Court’s notice re: attending the 341(a) meeting with the
27 trustee. Sergio told us to ignore everything and “it will all go away.”   We were misled and we

28 apologize for any delay and inconvenience.



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 1         40.     On October 11, 2018, I, Nona, was very upset at Sergio and I went to his house

 2 located at 8927 Seranata Drive Whittier, CA 90603. I went there to confront Sergio and demand
 3 answers and an explanation of what is going on and why he filed a bankruptcy. This is my
 4 family’s house and where I operate my daycare business. See Exhibit F for a copy of this
 5 communication exchange.
 6         41.     Sergio became defensive with me. I asked him, “Why did you not tell us you were

 7 going to file bankruptcy!?” Sergio replied defensively, “Nona, you did not really have a choice!”
 8 and said, “Nona, you brought this hardship on yourself.” It became clear again that now he was

 9 trying to shift the blame on us.
10         42.     At some point in our conversation, Sergio admitted to me that he dropped the ball

11 on the loan modification. This meant to me that due to his own negligence and mistake, he felt
12 the only solution left was to forge our signatures and file the bankruptcy case or as he called it a
13 “soft hold.”
14         43.     During the pending bankruptcy, Sergio continued to work on our loan modification

15 and he was successful to get our second loan modified.
16         44.     The bankruptcy apparently was not going away as easily as Sergio made it seem.

17 We began to receive several documents in the mail from the U.S. Bankruptcy Court.
18         45.     Sergio kept telling us, “don’t worry, the bankruptcy will go away just ignore it.”

19         46.     Thereafter, Sergio realized that the bankruptcy was “not going away” and he told

20 us we had to deal with it.
21         47.     On or about November 7, 2018, two realtors came to our house for an inspection

22 and appraisal. We were shocked and very confused why there were realtors at our house.
23         48.     I, Nona, texted and called Sergio to ask him why there were realtors at our house

24 who said they (the realtors) were hired to sell our house. Please put yourselves in our position –
25 we live in our home and have a family. To have realtors suddenly show up and say “we were
26 hired to sell your house” will send any reasonable homeowner into a state of shock and panic,
27 especially before the holidays.       We began to experience considerable anxiety and asking

28 ourselves where were we going to live? what do we do? what is going to happen to my daycare



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 1 business? are we going to be homeless? We felt very lost. See Exhibit G for a copy of the text
 2 communication between Nona and Sergio about the realtors who came to the house.
 3          49.   After we told Sergio that the realtors came to our house, Sergio referred us to our

 4 former attorney, Kenumi Maatafale (“Kenumi”). I told Sergio in my text that I “could not sleep all
 5 night.   I recall you saying if we did not show up at the bankruptcy court, the bankruptcy

 6 application will get dismissed.” See Exhibit H for a true and correct copy of the text message.
 7          50.   Kenumi substituted into the case and caused a whole new set of mistakes.         We

 8 paid Kenumi $3,000 for services he said included “objecting to the employment of Arent Fox” and

 9 to “file a motion to dismiss.” We felt comforted to know that this bankruptcy will go away now.
10 We were very wrong and Kenumi caused unnecessary mistakes himself.
11          51.   We attended our continued 341(a) meeting with the trustee on December 19,

12 2019. At this meeting we strongly expressed our position that we did not sign the petition and we
13 never wanted to be in bankruptcy. The Chapter 7 Trustee and his staff appeared to not believe
14 that the signatures on the petition were not ours. It is not our signature even if the signatures
15 match 100%. We did not sign it nor authorize anyone to forge our signature.
16          52.   On December 22, 2018, we met with our current attorney, Sevan Gorginian, who

17 decided to take our case in order to help us through this difficult time. We did not have any
18 confidence in Kenumi and felt that Kenumi and Sergio were somehow related in this scheme but
19 we are not sure.
20          53.   At the direction of our new attorney, on December 26, 2018, we went to the U.S.

21 Bankruptcy Court’s clerk’s intake window to procure a copy of the photo ID of the person who
22 filed the bankruptcy petition. The intake clerk, his name was Sonny, said he would not be able to
23 release that information. However, our attorney was able to procure the name. The person who
24 filed the bankruptcy petition was Edith Escalante. We do not know this person nor met anyone
25 by this name but she is presumably from Sergio’s office.
26          54.   As of the date of this declaration, we are current with our first and second modified

27 loans now and with our unsecured debts (credit cards and services). We do not need to be in a
28



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                                  PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
 2 business address is: 450 North Brand Boulevard, Suite 600 Glendale, CA 91203. A true and
     correct copy of the foregoing document entitled (specify): DEBTORS’ DECLARATION RE:
 3 FACTS IN SUPPORT OF THEIR POSITION WITH RESPECT TO THIS PENDING CASE
 4 will be served or was served (a) on the judge in chambers in the form and manner required by
     LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
 6   to controlling General Orders and LBR, the foregoing document will be served by the court via
     NEF and hyperlink to the document. On 12/4/2018,
                                               12/26/2018 I checked the CM/ECF docket for this
 7   bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 8   Wesley H Avey
     wes@averytrustee.com, C117@ecfcbis.com;lucy@averytrustee.com;alexandria@averytrustee.co
 9   m
     Sevan Gorginian on behalf of Debtor Agapito Palad Baroma
10   sevan@gorginianlaw.com, notices@nextchapterbk.com;serj@gorginianlaw.com
     Kenumi T Maatafale on behalf of Debtor Agapito Palad Baroma
11   kmt.ampah@excite.com, kmt.ampah@excite.com
     Kenumi T Maatafale on behalf of Joint Debtor Nona Baroma
12   kmt.ampah@excite.com, kmt.ampah@excite.com
     Aram Ordubegian on behalf of Trustee Wesley H Avery (TR)
13
     ordubegian.aram@arentfox.com
14   Annie Y Stoops on behalf of Trustee Wesley H Avery (TR)
     annie.stoops@arentfox.com
15   United States Trustee (LA)
     ustpregion16.la.ecf@usdoj.gov
16
     2. SERVED BY UNITED STATES MAIL:
17 On 12/26/2018, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
18 envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
     the judge here constitutes a declaration that mailing to the judge will be completed no later than
19 24 hours after the document is filed.
20 Hon. Vincent Zurzolo
     255 E. Temple Street # 1360
21 Los Angeles, CA 90012
22 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
23 EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
     controlling LBR, on (date) _______________, I served the following persons and/or entities by
24   personal delivery, overnight mail service, or (for those who consented in writing to such service
     method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
25   declaration that personal delivery on, or overnight mail to, the judge will be completed no later
     than 24 hours after the document is filed.
26   I declare under penalty of perjury under the laws of the United States that the foregoing is true
     and correct.
27     12/26/2018         Sevan Gorginian                              /s/ Sevan Gorginian
       Date                  Printed Name                              Signature
28



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